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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

FRANK SACCA,                                        )
                                                    )
      Plaintiff,                                    )     Hon. Judge Thomas M. Durkin
                                                    )
      v.                                            )     Hon. Mag. Judge Sidney I. Schenkier
                                                    )
WYOMING WHISKEY, INC.,                              )
BRADFORD MEAD, KATHERINE MEAD,                      )
and DAVID DEFAZIO,                                  )     Case No. 1:17-cv-8298
                                                    )
      Defendants.                                   )

      UNOPPOSED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL

   Defendants, WYOMING WHISKEY, INC., BRADFORD MEAD, KATHERINE MEAD, and

DAVID DEFAZIO, by and through their attorneys of record, Reno & Zahm LLP, hereby move

this Court for an order granting Defendants’ Leave to File Documents Under Seal pursuant to

Local Rule 26.2(c), and in support thereof, Defendants state and allege as follows:

       1.      Plaintiff’s Complaint makes numerous allegations relating to Plaintiff’s

employment with Defendant Wyoming Whiskey (“Wyoming Whiskey”).

       2.      Plaintiff’s Complaint and Defendants’ Motion to Dismiss (filed simultaneously

with this Motion) rely upon the language of Plaintiff’s Employment Agreement with Wyoming

Whiskey, which was referenced, but not attached to, the Complaint.

       3.      The Employment Agreement contains confidential information including personal

income information and trade secrets such as distribution, sales, and marketing plans. See

Methodist Hosps., Inc. v. Sullivan, 91 F.3d 1026, 1031 (7th Cir. 1996) (stating that personal income

is one of the categories of information that can be withheld from the public under seal); Pepsico,

Inc. v. Redmond, 46 F.3d 29, 31 (7th Cir. 1995) (“Legitimate trade secrets should be protected

from disclosure.”); Triumph Packaging Group v. Ward, 834 F. Supp. 2d 796, 806 (N.D. Ill. 2011)
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(“Trade secrets include ‘customer lists that are not readily ascertainable, pricing, distribution, and

marketing plans, and sales data and market analysis information.’”).

       4.      Further, Section V.C of the Employment Agreement requires that, in the event of

litigation, the parties must maintain the secrecy of all documents to protect Defendants’

Confidential Information.

       5.      Defendants have provisionally filed the Employment Agreement under seal

electronically with the Court, pursuant to Local Rule 26.2(c).

       6.      The undersigned counsel has conferred with counsel for Plaintiff prior to filing this

Motion and counsel for Plaintiff has no objections to this Motion.

       7.      For all of these reasons, this Court should permit the Employment Agreement to be

filed under seal pursuant to Local Rule 26.2(c).

       WHEREFORE, Defendants, WYOMING WHISKEY, INC., BRADFORD MEAD,

KATHERINE MEAD, and DAVID DEFAZIO, respectfully request that this Court enter an Order

granting their Motion for Leave to File Document Under Seal and for such other relief as the Court

deems just and proper.

       Dated this 27th day of November, 2017.

                                               RENO & ZAHM LLP

                                               By: /s/Jeffrey H. Powell
                                                      Jeffrey H. Powell, Attorney for Defendants
                                                      Wyoming Whiskey, Inc., Bradford Mead,
                                                      Katherine Mead, and David DeFazio
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                               CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that a copy of the Unopposed Motion for Leave to File
Document Under Seal was electronically served upon the registered CM/ECF users and via
electronic mail service upon any non-registered CM/ECF users in the above-entitled case on this
27th day of November, 2017.

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                                            RENO & ZAHM LLP

                                            By: /s/Jeffrey H. Powell
                                                   Jeffrey H. Powell, Attorney for Defendants
                                                   Wyoming Whiskey, Inc., Bradford Mead,
                                                   Katherine Mead, and David DeFazio

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